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BY ECF

Honorable Lewis A. Kaplan                                            May 27, 2021
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007
KaplanNYSDChambers@nysd.uscourts.gov

             Re:        In re Customs and Tax Administration of the Kingdom of Denmark
                        (Skatteforvaltningen) Tax Refund Scheme Litigation, 18-md-2865 (LAK)

Dear Judge Kaplan:

       We write on behalf of plaintiff Skatteforvaltningen (“SKAT”) to oppose defendants’
motion to compel SKAT to produce additional document and deposition discovery.1

        The additional document discovery should be rejected as unreasonably cumulative and
duplicative of SKAT’s extensive productions. Defendants’ motion also provides no proper basis
to compel depositions from the two witnesses defendants seek: one is said to be relevant only
because she signed letters revoking the previous approvals of defendants’ refund applications,
but she was not involved in gathering the facts that underpin the revocation letters and her
testimony will be entirely cumulative of that of SKAT’s 30(b)(6) witness who was actually in
charge of that process and already testified on the topic; the other’s apparent relevance is that she
is the official at SKAT charged with managing this litigation, which is a transparent attempt to
pry into SKAT’s litigation strategy.

The document discovery defendants seek is unreasonably cumulative and duplicative.

         SKAT has not, as defendants contend, “resisted turning over in this case the documents
that it produced to the Commission,” and nor does it “question” that some of those documents
“are relevant to this litigation.” (Mot. 1, 2.)2 To the contrary, SKAT has produced them to the


1.   Ltr. Mot. to Compel SKAT to produce and tender for deposition addressed to Judge Lewis A. Kaplan from Alan
     E. Schoenfeld, No. 18-md-02865, ECF No. 601. Defendants’ motion relates to all cases in this multi-district
     litigation and the same is therefore true for this opposition.
2.   In addition to SKAT’s payment of defendants’ fraudulent dividend withholding tax refund applications, the
     Commission’s mandate also includes examining (i) “management of the recovery area”; (ii) “amalgamation of
     the municipal and state recovery authority in SKAT”; and (iii) “general efficiency measures in SKAT”. (Mot.
     Ex. 3, ECF No. 601-3.) Thus, defendants’ request is overbroad in seeking “all documents” SKAT “transmitted
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extent they are responsive to the 148 individual document requests that the defendants and third-
party defendant have served on SKAT. In response to those requests, SKAT thus far has
collected and searched the custodial documents of 23 individuals and produced over 100,000
documents, including, among many other things, internal audit reports dating back to 2001,
minutes of meetings and emails related to those reports, “early warnings” SKAT issued to the
Ministry of Taxation, and the documents SKAT and the Ministry of Taxation provided to the
Bech-Bruun firm that published a 613-page report on its own Danish parliament-commissioned
investigation into SKAT’s administration of dividend withholding tax refunds.

        As SKAT informed defendants, however, SKAT cannot comply with defendants’ request
for a set of all documents it provided to the Commission because it does not have a copy of that
set of materials. And in light of the very extensive production it already has made, it would be
unduly burdensome for SKAT to recreate that largely duplicative document set on the off-chance
it may include some new information. See Fed. R. Civ. P. 26(b)(2)(C)(i) (“the court must limit
the frequency or extent of discovery . . . if it determines that the discovery sought is
unreasonably cumulative or duplicative”).

        Finally, the cases on which defendants rely are inapt. For instance, unlike the non-party
doctor in Valente v. J.C. Penney Corp., who refused to produce any of the relevant “billing
records” because doing so would have “necessitate[d] a manual, file-by-file review,” SKAT has
collected and produced myriad documents that cover the topics identified by defendants,
regardless of whether those same documents were provided to the Commission. No. 10-14053-
CIV-LYNCH, 2011 WL 13225182, at *1 (S.D. Fla. Jan. 31, 2010). And the Court’s decision in
In re Honeywell Int’l, Inc. Sec. Litig. compelling the non-party auditor to produce the relevant
“audit workpapers” in “their electronic form” because that is how they were “kept in the usual
course of” the auditor’s “business” has no bearing on the present dispute. 230 F.R.D. 293, 296-
97 (S.D.N.Y. 2003). There is no question that SKAT has complied with Rule 34’s requirement
that documents be produced as kept in the ordinary course of business.

The two witnesses defendants seek do not have relevant, non-cumulative information.

       The Court should deny defendants’ request to depose Lill Helene Drost, whose only
supposedly relevant personal involvement was in signing the revocation decisions that SKAT’s
30(b)(6) witness Christian Ekstrand already testified about extensively, and Gry Ahlefeld-Engel,
whose role in this litigation is to manage SKAT’s outside counsel and who had no personal
involvement in any of the matters defendants contend are relevant to SKAT’s claims or their
defenses.

         As an initial matter, defendants argue that the Court should grant their motion because it
is “unacceptable” that SKAT “has taken or scheduled 40 depositions” while defendants have
deposed or scheduled only six witnesses produced by SKAT. (Mot. 3.) That disparity, however,
is not the result of any unfairness, as defendants suggest, but follows from the fact that SKAT
“filed more than 180 cases across the United States asserting a fraud that spanned multiple
years” and ultimately named 48 individuals as defendants, while, on the other hand, a relatively

   to the Commission” as the documents SKAT provided to the Commission with respect to its other areas of
   inquiry have no relevance to these actions. (Mot. Ex. 1 at 39, ECF No. 601-1.)
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few SKAT employees were personally involved in processing defendants’ fraudulent refund
applications, even fewer of whom are still under SKAT’s control. (Id.)

        Next, defendants argue that Ms. Drost has relevant testimony to give because she
supposedly “was personally responsible for SKAT’s decision to revoke its approval” of
defendants’ fraudulent refund applications and “signed letters informing” them as much. (Id.)
But in doing so, defendants ignore that SKAT’s revocations were a topic for SKAT’s 30(b)(6)
deposition, on which they questioned SKAT’s witness Christian Ekstrand at length. In
particular, Mr. Ekstrand testified that he, not Ms. Drost, had the “project responsibility” for the
revocations and was the one “in charge of the . . . dividend withholding tax case,” and that the
“people carrying out the verification . . . reported to” him. (Ekstrand Dep. Tr. 159:14-160:1.)3
Ms. Drost, by contrast, was not “personally involved in the process of gathering facts that were
relied upon in the revocation letter[s]” and signed them only because she was the “unit head” and
it required someone “at her level in SKAT to sign off on the revocation[s].” (Id. 299:13-300:1.)
Thus, defendants do not need Ms. Drost “to explore the factual basis for th[e] revocations, to
understand why SKAT’s view of Defendants’ entitlement to reclaims changed,” nor “to find out
whether SKAT could have reached the same conclusion any earlier.” (Mot. 3). Defendants
already have posed those questions to Mr. Ekstrand.4

        Finally, defendants argue that Ms. Ahlefeld-Engel’s testimony is relevant because Mr.
Ekstrand testified that managing this litigation, including SKAT’s outside counsel, is “part of her
work portfolio,” i.e., she is the person at SKAT “responsible for this case.” (Mot. 4 (quoting
Ekstrand Dep. Tr. at 94:17-23).) But defendants fail to explain why the fact that Ms. Ahlefeld-
Engel is, as defendants put it, “spearheading this litigation,” or that she may have given an
interview where she “‘outlined the campaign’ to collect” the fraudulent refunds or told a
“reporter about the coordination between SKAT and the Danish criminal authority SØIK,” bears
on defendants’ purported “statute of limitations, revenue rule, failure to mitigate, and
contributory negligence defenses.” (Mot. 3-4.) As the Court observed in striking one of
defendants’ proposed 30(b)(6) topics, “[t]he fact that defendants find” these topics “of interest
does not make” them “relevant” and it is improper for defendants to use discovery “to attempt to
pry into plaintiff’s litigation strategy.” (Pretrial Order No. 20, ECF No. 572.)

        Nor is it significant that Ms. Ahlefeld-Engel verified SKAT’s answers to two
interrogatories seeking the source of information in certain SKAT internal spreadsheets and the
location of documents concerning the amounts of withholding tax collected by SKAT for
particular dividends. Defendants fail to identify any questions they have about SKAT’s answers,
presumably because to the extent they had any Mr. Ekstrand addressed them at his deposition.
(See Ekstrand Dep. Tr. at 93:23-94:2; 95:6-101:12.)




3.   Relevant excerpts from Mr. Ekstrand’s two-day deposition are attached as Exhibit 1 hereto, though the
     transcript is not final, as any errata are not due until June 9, 2021 (Vol. 1) and June 18, 2021 (Vol. 2).
4.   See, e.g., Ekstrand Dep. Tr. at 166:12-14 (“Can you describe the process that SKAT undertook to reach the
     decision to issue this [revocation] determination?”), 168:21-25 (“How did SKAT come to the decision that the
     plan here did not own . . . the shares . . . and did not receive dividends . . . ?”), 172:5-7 (“What process did you
     undertake to determine whether dividends had been paid to any of the pension plans?”).
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      Accordingly, SKAT respectfully requests that the Court deny defendants’ motion to
compel.

                                          Respectfully submitted,


                                          /s/ Marc A. Weinstein
                                              Marc A. Weinstein




cc:    All counsel of record (via ECF)
